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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

 UNITED STATES OF AMERICA                            :      ss: Bridgeport, Connecticut
                                                     :
 COUNTY OF FAIRFIELD                                 :      FILED UNDER SEAL
                                                     :
                                                            October 7, 2020

                                                AFFIDAVIT

        I, Jordan Oliveira, being duly sworn, depose and state as follows:

                                  BACKGROUND OF AFFIANT

        1.      I have been employed as a Special Agent (“SA”) of U.S. Department of Homeland

Security, Homeland Security Investigations (“HSI”), since 2010, and am currently assigned to the

HSI Office of the Resident Agent in Charge in New Haven, Connecticut. While employed by

HSI, I have investigated federal criminal violations related to high technology or cybercrime, child

exploitation, and child pornography. I have gained experience through training at the Federal

Law Enforcement Training Center’s Criminal Investigator Training Program and the ICE-HSI

Special Agent Training course and everyday work relating to conducting these types of

investigations. I have received training in the area of child pornography and child exploitation,

and have had the opportunity to observe and review numerous examples of child pornography (as

defined in 18 U.S.C. § 2256) in all forms of media including computer media.

        2.      I am an investigative or law enforcement officer of the United States within the

meaning of Title 18, United States Code, Section 2510(7) in that I am empowered by law to

conduct investigations of and to make arrests for offenses enumerated in Title 18, United States

Code, Section 2516. I have personally participated in the investigation concerning the violation

of the federal laws listed in this affidavit.

        3.      I make this affidavit in support of a Criminal Complaint and Arrest Warrant
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charging Kevin Curley (“CURLEY”) (DOB: **/**/1980) with receipt of child pornography in

violation of Title 18, United States Code, Sections 2252A(a)(2)(A) and (b)(1) and possession of

child pornography in violation of Title 18, United States Code, Sections 2252A(a)(5)(B) and (b)(2)

(collectively, the “TARGET OFFENSES”). Based on the facts set forth below, I believe there is

probable cause to believe, and I do believe, that CURLEY knowingly committed the TARGET

OFFENSES in the District of Connecticut.

       4.      The statements contained in this affidavit are based in part on information provided

by other members of local, state, and federal law enforcement, my own investigation to include

personal observations, documents and other investigative materials which I have reviewed, as well

as my training and experience as a Special Agent with HSI. Since this affidavit is being submitted

for the limited purpose of obtaining a criminal complaint and arrest warrant, I have not included

each and every fact known to me concerning this investigation. I have set forth only the facts that

I believe are necessary to establish probable cause to believe that CURLEY committed the

TARGET OFFENSES.

                                 STATUTORY AUTHORITY

       5.      This investigation concerns possible violations of Title 18, United States Code,

Sections 2252A(a)(2)(A) and (b)(1) (receipt of child pornography) and Title 18, United States

Code, Sections 2252A(a)(5)(B) and (b)(2) (possession of child pornography).

       6.      Title 18, United States Code, Sections 2252A(a)(2)(A) and (b)(1) prohibit a person

from knowingly receiving or distributing, or attempting or conspiring to receive or distribute, any

child pornography or any material that contains child pornography, as defined in 18 U.S.C. §

2256(8), that has been mailed, or using any means or facility of interstate or foreign commerce

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shipped or transported in or affecting interstate or foreign commerce by any means, including by

computer.

        7.     Title 18, United States Code, Sections 2252A(a)(5)(B) and (b)(2) prohibit a person

from knowingly possessing or knowingly accessing with intent to view, or attempting or

conspiring to do so, any material that contains an image of child pornography, as defined in 18

U.S.C. § 2256(8), that has been mailed, or shipped or transported using any means or facility of

interstate or foreign commerce or in or affecting interstate or foreign commerce by any means,

including by computer, or that was produced using materials that have been mailed or shipped or

transported in or affecting interstate or foreign commerce by any means, including by computer.

                    BACKGROUND ON TOR AND THE “DARK WEB”

        8.     The Internet is a global network of computers and other devices.   Devices directly

connected to the Internet are uniquely identified by IP addresses, which are used to route

information between Internet-connected devices.         Generally, when one device requests

information from a second device, the requesting device specifies its own IP address so that the

responding device knows where to send its response.     On the Internet, data transferred between

devices is split into discrete packets, each of which has two parts: a header with non-content

routing and control information, such as the packet’s source and destination IP addresses; and a

payload, which generally contains user data or the content of a communication.

        9.     “Tor,” which is an acronym for “The Onion Router,” is a special network of

computers on the Internet, distributed around the world, that is designed to conceal the true IP

addresses 1 of the computers on the network, and, thereby, the identities of the network’s users.


1
    Every computer device connected to the Internet has an “Internet protocol” or “IP” address
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The Tor network attempts to create this anonymity by routing Tor user communications through a

globally distributed network of relay computers, along a randomly assigned path known as a

“circuit.” Because of the way the Tor network routes communications through the relay computers,

traditional IP address-based identification techniques are not effective.      To access the Tor

network, a user must install Tor software.   That is most easily done by downloading the free “Tor

browser” from the Tor Project, the private entity that maintains the Tor network, via their website

at www.torproject.org.     The Tor browser is a web browser that is configured to route a user’s

Internet traffic through the Tor network.

       10.     As with other Internet communications, a Tor user’s communications are split into

packets containing header information and a payload, and are routed using IP addresses.    In order

for a Tor user’s communications to be routed through the Tor network, a Tor user necessarily (and

voluntarily) shares the user’s IP address with Tor network relay computers, which are called

“nodes.” This routing information is stored in the header portion of the packet. As the packets

travel through the Tor network, each node is able to see the address information of the previous

node the communication came from and the next node the information should be sent to.        Those

Tor nodes are operated by volunteers – individuals or entities who have donated computers or

computing power to the Tor network in order for it to operate.

       11.     Tor may be used to access open-Internet websites like www.justice.gov.      Because

a Tor user’s communications are routed through multiple nodes before reaching their destination,

when a Tor user accesses such an Internet website, only the IP address of the last relay computer



assigned to it, which is used to route Internet traffic to or from the device. A device’s IP address
can be used to determine the device’s physical location and, thereby, its user.

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(the “exit node”), as opposed to the Tor user’s actual IP address, appears on that website’s IP

address log.   In addition, the content of a Tor user’s communications are encrypted while the

communication passes through the Tor network.        That can prevent the operator of a Tor node

from observing the content (but not the routing information) of other Tor users’ communications.

       12.     The Tor Project maintains a publicly available frequently asked questions (FAQ)

page, accessible from its website, with information about the Tor network.     Within those FAQ,

the Tor Project advises Tor users that the first Tor relay to which a user connects can see the Tor

user’s actual IP address.   In addition, the FAQ also cautions Tor users that the use of the Tor

network does not render a user’s communications totally anonymous. For example, in the Tor

Project’s FAQ, the question “So I'm totally anonymous if I use Tor?” is asked, to which the

response is, in bold text, “No.”

       13.     The Tor Network also makes it possible for users to operate or access websites that

are accessible only to users operating within the Tor network.   Such websites are called “hidden

services” or “onion services.” They operate in a manner that attempts to conceal the true IP

address of the computer hosting the website.    Like other websites, hidden services are hosted on

computer servers that communicate through IP addresses.     However, hidden services have unique

technical features that attempt to conceal the computer server’s location.

       14.     Unlike standard Internet websites, a Tor-based web address is comprised of a series

of either 16 or 56 algorithm-generated characters, for example “asdlk8fs9dflku7f,” followed by

the suffix “.onion.” Ordinarily, investigators can determine the IP address of the computer server

hosting a website (such as www.justice.gov) by simply looking it up on a publicly available

Domain Name System (“DNS”) listing.        Unlike ordinary Internet websites, however, there is no


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publicly available DNS listing through which one can query the IP address of a computer server

that hosts a Tor hidden service.    So, while law enforcement agents can often view and access

hidden services that are facilitating illegal activity, they cannot determine the IP address of a Tor

hidden service computer server via public lookups.                Additionally, as with all Tor

communications, communications between users’ computers and a Tor hidden service webserver

are routed through a series of intermediary computers.   Accordingly, neither law enforcement nor

hidden-service users can use public lookups or ordinary investigative means to determine the true

IP address – and therefore the location – of a computer server that hosts a hidden service.

                     THE INVESTIGATION AND PROBABLE CAUSE

       15.     In February 2020, HSI began investigating CURLEY based upon information that

a user of the internet at CURLEY’s residence at                          Morris, Connecticut, was

accessing an online community of individuals who regularly send and receive child pornography

via a hidden service website that operated on the Tor anonymity network.

       16.     As part of HSI’s investigation of the above information, on February 28, 2020, the

Honorable William I. Garfinkel, United States Magistrate Judge for the District of Connecticut

authorized the installation and use of a pen register and trap and trace device to record, decode and

capture all dialing, routing addressing and signaling information associated with the residential

internet service account for                 in Morris, Connecticut. Analysis of the data revealed

evidence that an internet user at CURLEY’s residence had approximately 475 connections to IP

addresses identified as Tor network relay computers, which as discussed above, indicate that the

user was accessing Tor on each of those occasions.

       17.     On July 31, 2020, Judge Garfinkel issued a federal search and seizure warrant for

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CURLEY’s residence in Morris. I was the affiant in the application for that search warrant.

       18.     On August 5, 2020, HSI agents, including myself, executed the warrant at

       During the execution of that warrant, HSI agents seized a Dell XPS Tower computer that

was located within the living room of the residence.

       19.     On or about August 6, 2020, an HSI Computer Forensic Agent (“CFA”) began a

forensic examination of the computer’s hard drive. I have reviewed the files recovered from the

forensic examination. Among the files recovered from the computer’s hard drive, as set forth in

greater detail below, HSI recovered a concealed access point to a Tor browser accompanied by a

media player and two video files containing child pornography, along with an image cache and

browser history containing approximately 148 additional unique images of child

pornography that had been previously accessed by a user of the computer.

                               Hidden Tor Network Access Point

       20.     During a cursory review of the computer seized from CURLEY’s residence, HSI

was unable to locate a Tor browser or dark web access point from within the list of installed

applications. However, during the subsequent forensic examination, HSI located an access point

to the Tor browser, specifically a shortcut key that had been hidden inside of a folder entitled

“Soundtrack     of   Tangled    (2010)”     that   had   been    saved    within    the   file   path

C:\Users\Kevin\Downloads.       According to computer metadata, the shortcut key to the Tor

browser was created on June 13, 2019 at approximately 1:33 a.m. Eastern Standard Time (“EST”)

and last accessed on August 3, 2020 at approximately 10:57 p.m. EST. Your affiant understands

the “Soundtrack of Tangled (2010)” to refer to music from a popular animated children’s movie,

however, no audio files (or other files for that matter) related to this movie were located within the

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                       . According to metadata, this video file was created (i.e. downloaded) on

July 21, 2019 at approximately 1:09 a.m. EST and was last accessed on July 26, 2020 at

approximately 1:41 p.m. EST.

       24.     Also within the 7-Zip folder, in a different series of sub-folders, HSI located a

second video file entitled                                                 that runs approximately

19 minutes and 17 seconds. The video file appears to show a young male, approximately 11 years

old, in restraints being forced to perform oral sex on two adult males.




                                According to metadata, this file was created (i.e. downloaded) on

July 21, 2019 at 1:33 a.m. EST and was last accessed on July 26, 2020 at 1:41 p.m. EST.

                     Evidence of Previously Accessed Child Pornography

       25.     In addition to the two video files, HSI located thumbnails for approximately 148

unique images and videos of child pornography present at one time on the computer’s hard drive.

These images were located within the computer’s Windows Explorer ThumbCaches, which I

understand is a function of Microsoft Windows that essentially captures a thumbnail of any

graphic, document, or movie file that has been saved to the computer’s hard drive, even if the file

itself is eventually removed or otherwise deleted from the computer’s hard drive. In this case, a

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                                     created on May 23, 2019 at 11:49 p.m. EST;

              c. A file path named                                                       created on

                 April 11, 2019 at 9:21 a.m. EST;

              d. A file path named                                                       created on

                 April 29, 2019 at 9:00 a.m. EST;

              e. A series of file path named                                           and

                             created on May 23, 2019 at approximately 11:49 p.m. EST.

       27.       As discussed in further detail below, based on my training and experience and

knowledge of this investigation, I was able to determine that the above-referenced files would have

likely contained child pornography and would have been available to the computer’s user through

a specific Tor website,              that appears in the computer’s browser history.

                          Evidence of Four Tor-Based Child Pornography
                          Websites Accessed from CURLEY’s Computer

       28.       In addition, HSI located at least four different Tor-based web addresses known to

contain child pornography within the browser history for the computer, confirming earlier

indications from the pen register and trap and trace device that the computer was being utilized to

access Tor.

       29.       The first three web addresses, based on my training and experience and consultation

with other law enforcement investigators, would have routed Tor users to a dark net website known

as                        which contained child exploitive materials, including child pornography.

However, at the time of the search of the computer’s hard drive, the dark net website

             had already been shut down and the links are no longer active.

       30.       The fourth Tor-based web address, based on my own investigation, continues to be
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operational. Specifically, when placed in the Tor browser, the fourth Tor-based web address

found on the computer directs the user to a website entitled             which then directs the user

to a second               website requiring a login that describes itself as                    and

includes chat forums providing images and videos of children of all ages being raped and tortured,

along with forums describing how to avoid law enforcement detection and setting forth rules that

include

          31.    Contents of these forums were compared with the file names located within the

“timeline” of the computer’s hard drive and several matches were found. For example, a file path

previously located within the “Soundtrack of Tangled (2010)” entitled                 was searched

for within the          forum, which revealed a post referencing a the video series chronicling a 6-

to 8-year old female engaging in various sex acts with an adult male. Similarly, a file path

previously located within the “Soundtrack of Tangled (2010)” entitled                           was

searched for within              and revealed a chat string wherein a forum member posted a

collection of videos showing a 5-year old female engaging in sexual acts with an adult male.

                         Evidence of Kevin CURLEY’s Computer Usage

          32.    Based on my review of numerous public records, I understand both CURLEY and

his wife to reside at                  in Morris, CT with their three small children, ages 7, 6, and

4.

          33.    According to a source of information (“SOI”) within the community, CURLEY is

a stay-at-home father, while his wife works outside the home. A review of records maintained by

the State of Connecticut identify CURLEY as the registered owner of Breakaway Sports Event

Management LLC, with his home address at                            listed as his business address.


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Records obtained from the Department of Labor for 2019 confirm no wage records for CURLEY

and wage records for CURLEY’s wife showing employment out of the home. The SOI further

informed investigators that CURLEY’s wife’s work schedule appears to require her to leave early

in the morning for work and return in the evening after the two older children return from school.

       34.      At the time of the execution of the search warrant and seizure of the computer at

CURLEY’s residence, his wife, who was present at the time, advised law enforcement that nobody

beyond herself and CURLEY and their children resided at the residence in the last year, and that

they had had no recent visitors who would be using the internet.

       35.      A forensic review of activity on CURLEY’s computer reveals internet activity

attributable to CURLEY occurring at the same time as the download and accessing of child

pornography. For example, leading up to the download of the two child pornography videos

described above, which occurred on July 21, 2019 between 1:00 and 1:30 a.m. EST, the computer

user accessed the following:

             a. Internet activity linked to CURLEY’s iPage, which I understand to be a service that

                helps users build their own websites;

             b. Internet activity on the morrisctdems.org website, for which CURLEY ran as a

                candidate for first selectman in Morris in November 2019;

             c. Internet activity on the Bunker Hill Sports Association, where I understand based

                on publicly available information that CURLEY is a children’s sports team coach;

                and

             d. Internet activity for the U.S. Soccer Learning Center login page, consistent with my

                understanding that CURLEY is involved in youth soccer coaching activities.


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       36.    As described above and as observed in the course of my investigation, Tor activity

and the accessing and downloading of child pornography on CURLEY’s computer hard drive

occurs during daytime working hours when CURLEY’s wife and older children appear to be out

of the home, and in the middle of the night when family members would likely be sleeping.




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                                        CONCLUSION

       37.     Based upon the foregoing, there is probable cause to believe, and I do believe that

Kevin CURLEY committed violations of Title 18, United States Code, Sections 2252A(a)(2)(A)

and (b)(1) (Receipt of Child Pornography) and 2252A(a)(5)(B) and (b)(2) (Possession of

Child Pornography) as set forth herein, and therefore I respectfully request the issuance of the

specified criminal complaint and arrest warrant.


                                            JORDAN P Digitally      signed by
                                                            JORDAN P OLIVE RA
                                                            Date: 2020.10.06
                                            OLIVEIRA
                                             _______________________
                                                            19:01:14 -04'00'
                                             Jordan Oliveira
                                             Special Agent
                                             Homeland Security


       The truth of the foregoing affidavit has been attested to me by HSI Special Agent Jordan

Oliveira over the telephone on this ______ day of October, 2020 in accordance with the
                                           /s/ William I. Garfinkel, USMJ
requirements of Fed. R. Crim. P. 4.1.


                                             HON. WILLIAM I. GARFINKEL
                                             UNITED STATES MAGISTRATE JUDGE




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